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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF UTAH, CENTRAL DIVISION


  BLUERIBBON COALITION, INC. et al.,

       Plaintiffs,                                Case No. 2:23cv923-DAK-JCB

  v.
                                                   SUWA’S REQUEST TO SUBMIT FOR
  BUREAU OF LAND MANAGEMENT, et                       DECISION AND EXPEDITED
  al.,                                                    CONSIDERATION

       Defendants,
                                                  Judge Dale A. Kimball
  and                                             Magistrate Judge Jared C. Bennett

  SOUTHERN UTAH WILDERNESS
  ALLIANCE,

       Proposed Defendant-Intervenor.



          Pursuant to D.U. Civ. R. 7-3, Southern Utah Wilderness Alliance (SUWA) respectfully

 requests that its pending Motion to Intervene be submitted for decision. SUWA filed its Motion
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 on December 29, 2023 (ECF No. 15). Plaintiffs Blue Ribbon Coalition et al., filed their

 Memorandum in Opposition on January 9, 2024 (ECF No. 26). Federal Defendants have

 indicated that they take no position on SUWA’s Motion. SUWA filed a Reply in support of its

 Motion on January 16, 2024 (ECF No. 27).

        No party has requested a hearing and SUWA does not believe oral argument is necessary

 to resolve its Motion.

        Expedited consideration of SUWA’s Motion is warranted because Plaintiffs are seeking

 emergency injunctive relief and the Court has already scheduled a hearing on that request for

 February 21, 2024.

        Respectfully submitted this 16th day of January, 2024.



                                             /s/ Laura Peterson
                                             __________________________
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